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 9

10                              UNITED STATES BANKRUPTCY COURT

11                               CENTRAL DISTRICT OF CALIFORNIA

12                                         RIVERSIDE DIVISION

13

14    In re                                              Case No. 6:22-bk-14752-MH

15    BRANDON MICHAEL MCDOWELL,                          Assigned to the Honorable Mark D. Houle
      aka “trvpkid_69,”,
16                                                       Chapter 7
                            Debtor
17

18
      MATT CAPELOUTO AND CHRISTINE                       COMPLAINT FOR
19    CAPELOUTO,                                         NONDISCHARGEABILITY OF DEBT
                                                         PURSUANT TO 11 USC § 523(a)(6) &
20                         Plaintiffs                    FOR DENIAL OF DISCHARGE
                                                         PURSUANT TO 11 USC § 727(a)
21    vs.

22    BRANDON MICHAEL MCDOWELL,
      aka “trvpkid_69,”
23
                           Defendant
24

25             TO THE HONORABLE JUDGE MARK D. HOULE, UNITED STATES

26   BANKRUPTCY COURT JUDGE::

27             Matt & Christine Capelouto ("Capelouto") by and through their respective counsel,

28   complain and allege as follows:


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 1                                   CORE/NON-CORE DESIGNATION

 2   1.        In accordance with Local Bankruptcy Rule 7008-1, Capelouto alleges that this adversary

 3             proceeding constitutes a core proceeding under 28 U.S.C. § 157(b)(2)(I) and (J).

 4             Capelouto acknowledges that the Court has the power to enter final orders and judgments

 5             in this matter. The Capelouto’s also consents to the Court's entry of final orders and

 6             judgments in this matter.

 7                                        JURISDICTION AND VENUE

 8   2.        Defendant and Debtor Brandon Michael McDowell ("Debtor" and/or “McDowell”) filed a

 9             voluntary chapter 7 petition for relief under Title 11 of the United States Code on 12-21-

10             2022 (the “Petition Date”) , Case # 6:22-bk-14752-MH (the “Petition”) in the United

11             States Bankruptcy Court, Central District of California, Riverside Division (the

12             “Bankruptcy Court”) commencing the instant bankruptcy case. This Court has subject

13             matter jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§ 1334 and 157.

14   3.        The venue is proper in this Court pursuant to 28 U.S.C. § 1409.

15                                                  PARTIES

16   4.        The following is a description of the relevant parties involved in the facts forming the

17             basis of this Complaint.

18   5.        The Capelouto’s are the bereaved parents of their 20-year old daughter Alexandra

19             Capelouto (“Alexandra”).

20   6.        The Capelouto’s are informed and believe that McDowell is a 23-year old individual

21             residing in Los Angeles, California, currently incarcerated in prison at FCI Terminal

22             Island, 1299 Seaside Avenue, San Pedro, California 90731, prisoner # 79243-509.

23             McDowell is represented by Summer M Shaw of Shaw & Hanover, PC.

24                                         GENERAL ALLEGATIONS

25   7.        The following general allegations form the background for the Capelouto’s claims for

26             relief against McDowell.

27   8.        The Capelouto’s are informed and believe that on or about 12-22-2019, McDowell resided

28             and operated a business out of 11434 Millard Dr., Riverside, California 92503 comprised

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 1             of manufacturing, distribution, and sales of narcotics including, but not limited to

 2             oxycontin and fentanyl.

 3   9.        The Capelouto’s are informed and believe that on or about 12-22-2019, McDowell was

 4             contacted via Snapchat by Alexandra, who inquired about purchasing Percocet pills, a

 5             prescription painkiller.

 6   10.       The Capelouto’s are informed and believe that McDowell agreed to sell Alexandra

 7             Percocet/Oxycontin pills.

 8   11.       The Capelouto’s are informed and believe that McDowell sold 11 pills to Alexandra that

 9             he represented to be the pure Percocet/Oxycontin Alexandra requested, that he later

10             described to law enforcement as blue “Oxys” or “M30s.” However, the pills were not pure

11             Percocet/Oxycontin. Each pill actually contained a lethal dose of fentanyl.1

12   12.       The Capelouto’s are informed and believe that the pills were manufactured using fentanyl

13             as either a filler or total replacement for Percocet/Oxycontin in order to defraud purchasers

14             and create a higher profit margin for the seller, distributor, and manufacturer of the pills.

15             They were manufactured to look identical to pure oxycontin pills so that the alterations

16             were undetectable by the purchaser or user.

17   13.       The Capelouto’s are informed and believe that McDowell knew that it was illegal for him

18
               1
19            According to the CDC, there were 70,601 overdose deaths involving synthetic opioids other
     than methadone (primarily fentanyl) in the United States in 2021. This represents a 23.3% increase
20   from the previous year. Fentanyl is a powerful synthetic opioid that is 50 to 100 times more potent
     than morphine. It is often mixed with other drugs, such as heroin, cocaine, and methamphetamine,
21   and can be deadly even in small doses. Fentanyl works by binding to opioid receptors in the brain and
     spinal cord. This binding slows down the body's respiratory system, which can lead to respiratory
22
     arrest and death. Because of fentanyl’s extreme potency, the risk of overdose death is great,
23   particularly when the user is inexperienced or unaware of what substance he or she is using. See, e.g.
     United States v. Harris, 774 Fed. Appx. 937, 941 (6th Cir. 2019) (quoting the Sentencing
24   Commission’s finding. The rise in fentanyl-related deaths is a major public health crisis in the United
     States. Here is the national death toll for deaths by fentanyl for the years 2019-2023:
25           Year Number of deaths
26           2019 50,100
             2020 69,710
27           2021 70,601
             2022 106,699 (provisional)
28           2023 110,000 (estimated)

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 1             to sell the pills (to Alexandra) and that they contained fentanyl or some other federally

 2             controlled substance.

 3   14.       The Capelouto’s are informed and believe that prior to 12-22-2029, McDowell knew that

 4             ingestion of Fentanyl was dangerous.

 5   15.       The Capelouto’s are informed and believe that prior to 12-22-2029, McDowell knew that

 6             ingestion of Fentanyl could cause death in humans.

 7   16.       The Capelouto’s are informed and believe that on 12-22-20219, McDowell knew that

 8             ingestion of Fentanyl could cause death to Alexandra.

 9   17.       The Capelouto’s are informed and believe that on 12-22-20219, McDowell had not taken

10             any steps to mitigate the risk of harm, such as providing warnings to Alexandra about the

11             dangers of Fentanyl. In fact, it is much worse, as McDowell lied to Alexandra that the pills

12             were Percocet/Oxycontin and withheld the truth from her that the pills were Fentanyl.

13   18.       The Capelouto’s are informed and believe that upon going to bed the night of 12-22-2019,

14             Alexandra ingested half of one of the pills. The Fentanyl entered her system, poisoning her

15             body, and caused her death.

16   19.       The Capelouto’s are informed and believe that McDowell intentionally, misrepresented the

17             content of the pills he sold to Alexandra such that she was not able to manage the quantity

18             and nature of material she was about to ingest. That same evening, Alexandra did, in fact,

19             consume one or more of the pills she purchased from McDowell.

20   20.       The Capelouto’s are informed and believe that the following day, on or about 12-23-2019,

21             Alexandra was found unresponsive by her parents. She was ultimately pronounced dead

22             with the cause of death being a lethal dose of fentanyl, traced to the pills she purchased

23             from McDowell on or about 12-22-2019.

24   21.       In United States of America v. Brandon Michael Mcdowell, aka “trvpkid_69,” # ED CR

25             21-238-JGB, on 7-11-2022, McDowell signed a Plea Agreement, with the United States

26             Attorney’s Office for the Central District of California, where he pled guilty of the crime

27             of Possession with Intent to Distribute Fentanyl, in violation of 21 USC §§

28

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 1             841(a)(1)(b)(1)(c) [Doc-32].2

 2   22.       McDowell’s Plea Agreement admitted that he: (1) knowingly and intentionally possessed

 3             fentanyl; (2) knowingly and intentionally distributed fentanyl; (3) knowingly and

 4             intentionally distributed fentanyl to Alexandra - the use of which resulted in her death by

 5             overdose. McDowell also acknowledged that he will be required to pay full restitution to

 6             the victim(s) of the offense to which defendant is pleading guilty.

 7   23.       McDowell’s Plea Agreement, agreed that: any statements made by him, under oath, at the

 8             guilty plea hearing, and evidence derived from such statements, shall be admissible against

 9             him in any such action against him, and he waived and gave up any claim under the United

10             States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of

11             the Federal Rules of Criminal Procedure, or any other federal rule, that the statements or

12             any evidence derived from the statements should be suppressed or are inadmissible.

13   24.       On 11-30-2022, the Capeloutos sued McDowell in the Superior Court of the State of

14             California, Riverside County, # CVSW219985 (the “State Court Case”), pursuant to the

15             Drug Dealer Liability Act "DDLA" codified as Health and Safety Code sections 11700, et

16             seq, for the wrongful death of Alexandra, who on 12-22-2019, McDowell illegally sold

17             Percocet and/or Oxycontin pills (blue “Oxys” or “M30s”) containing lethal doses of

18             fentanyl, which caused her death.

19   25.       The Capelouto’s are informed and believe that McDowell’s selling harmful narcotics such

20             as fentanyl, particularly under the false premise that they were prescription painkillers,

21             was both extreme and outrageous, were intentional, done without just cause or excuse,

22             wilful and malicious, and was done with the specific intent to cause serious harm and

23             injury to Alexandra, and/or was a categorically harmful activity, and that harm was

24             substantially certain to occur as a result of his actions.

25
               2
26            21 USC §§ 841(a)(1)(b)(1)(C) provides that any person who knowingly or intentionally
     distributes, or possesses with intent to distribute, a Schedule III, IV, or V controlled substance, as
27   defined in the Controlled Substances Act, shall be punished by imprisonment for up to five years, a
     fine, or both.
28

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 1   26.       The Capelouto’s are informed and believe that the conduct of McDowell did in fact,

 2             directly and proximately, cause Alexandra serious mental and physical distress, which

 3             resulted in her untimely death.

 4   27.       The Capelouto’s are informed and believe that as a legal, direct and proximate result of the

 5             conduct of McDowell, Alexandra and her parents suffered damages. Per the Statement of

 6             Damages filed in the State Court Case (the “Statement of Damages”), in the amount is

 7             $5,000,000.00.

 8   28.       The Capeloutos have gone through enough hell as a result of McDowell’s illegal actions.

 9             They must now live a painful life of bereavement without their daughter. To quote Matt

10             Capelouto’s gut-wrenching Victim Impact Statement:

11             Alex's murder has taken even more from us.

12             Losing her child - the strain and unbearable stress that was put upon my beautiful
               wife by the defendant and his greed …
13
               Look, we all know, there's no greater pain than having a child stolen from you - it
14             puts a weight and strain on a soul that can't be measured.

15             But I believe all this pain and despair is the cause of my wife's cancer, which is
               literally killing her as I stand here and talk with you.
16
               With no history of cancer in her family, this deadly disease creeped into our
17             family's lives - just like this murderer did - and eventually, it will take her away
               from me as well.
18
               And we will be the ones struggling to survive the chaotic, debilitating waves of
19             destruction that he's left in his wake.

20             Stand beside us in our grief. Feel what we are feeling. Absorb a tiny piece of the
               pain we are enduring. A pain that is - to this day - ripping people I love more than
21             anything away from me.

22                                         FIRST CLAIM FOR RELIEF
                   (For Determination that McDowell's Debt to the Capeloutos is NonDischargeable
23                                           Under 11 USC § 523(a)(6))

24   29.       The Capelouto’s incorporate by reference and reallege each of the allegations set forth in

25             paragraphs 1 through 28 as though set forth in full.

26   30.       11 USC § 523(a)(6), provides that a debt that arises from willful and malicious injury by

27             the debtor to another entity or to the property of another entity in nondischargeable.

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 1   31.       The Capelouto’s are informed and believe that McDowell’s selling harmful narcotics such

 2             as fentanyl, particularly under the false premise that they were prescription painkillers,

 3             was both extreme and outrageous, was intentional, done without just cause or excuse,

 4             wilful and malicious, and was done with the specific intent to cause serious harm and

 5             injury to Alexandra, and/or was a categorically harmful activity, and that harm was

 6             substantially certain to occur as a result of his actions.

 7   32.       McDowell’s Plea Agreement admitted that he: (1) knowingly and intentionally possessed

 8             fentanyl; (2) knowingly and intentionally distributed fentanyl; (3) knowingly and

 9             intentionally distributed fentanyl to Alexandra - the use of which resulted in her death by

10             overdose.

11   33.       The Capelouto’s are entitled to a judgment that the damages from the wrongful death of

12             their daughter Alexandra are deemed to be nondischargeable under 11 USC § 523(a)(6).

13                                     SECOND CLAIM FOR RELIEF
                         (For Denial of McDowell’s Discharge Under 11 USC § 727(a))
14
     34.       The Capelouto’s incorporate by reference and reallege each of the allegations set forth in
15
               paragraphs 1 through 33 as though set forth in full.
16
     35.       11 USC § 727(a)(4)(A), provides that a Debtor will be denied a discharge if he knowingly
17
               and fraudulently made a false oath or account regarding the Bankruptcy.
18
     36.       McDowell’s Statement of Financial Information # 4 lists no income during 2022, and for
19
               the two previous calendar years 2021, and 2020 (the Petition Date was 12-21-2022).
20
     37.       The Capelouto’s are informed and believe that McDowell earned substantial income
21
               selling drugs during this period of time with virtually no expenses since he lived at home
22
               with his parents, and therefore lied in his bankruptcy, and his discharge be denied.
23
     38.       McDowell’s Schedule H lists no Co-Debtors, omitting his parents Justin Lee McDowell
24
               and Jill McCarthy who are co-defendants in the Capelouto’s state court lawsuit.
25
     39.       The Capelouto’s are entitled to a judgment that McDowell’sdischarge be denied under 11
26
               USC § 727(a).
27

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 1                                          PRAYER FOR RELIEF

 2             WHEREFORE, the Capelouto’s pray for Judgment against McDowell as follows:

 3   1.        That McDowell is indebted to the Capelouto’s for actual damages in an amount not less

 4             than $5,000,000.00;

 5   2.        That McDowell is indebted to the Capelouto’s for attorneys' fees, expenses, and other

 6             costs and charges of collection accrued after the entry of judgment until their claim is paid

 7             in full;

 8   3.        That the debt McDowell owes to the Capelouto’s, and any and all other claims, debts and

 9             damages proven at trial, arising from or relating to the allegations herein are determined to

10             be not dischargeable pursuant to 11 USC § 523(a)(6).

11   4.        That McDowell be denied a discharge pursuant to 11 USC § 727(a)(4)(A);

12   5.        For costs of suit; and

13   6.        For such other and further relief as the Court deems proper.

14

15   DATED:               May 11, 2023               LAW OFFICE OF BARUCH C. COHEN
                                                     A Professional Law Corporation
16
                                                     By /s/ Baruch C. Cohen
17                                                   Baruch C. Cohen, Esq.
                                                     Attorneys For Plaintiffs, Matt Capelouto and
18                                                   Christine Capelouto

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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
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ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
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PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ
                                                   ; Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU
;           Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
Ƒ 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
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                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                ; 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ 71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                Ƒ 72-Injunctive relief – other
    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ; 41-Objection / revocation of discharge - §727(c),(d),(e)                     FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $ 
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
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DISTRICT IN WHICH CASE IS PENDING                                         DIVISION OFFICE                  NAME OF JUDGE
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                                       RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                        DEFENDANT                                                 ADVERSARY
                                                                                                           PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                    DIVISION OFFICE                  NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF))




DATE                                                                      PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                            %DUXFK&&RKHQ(VT



                                                              INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
